          The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

           1. Robert Ryan Grasty
              v. Commonwealth of Virginia
              Record No. 0281-17-1
              Opinion rendered by Judge Humphreys
               on December 5, 2017
              Refused (171721)
       On August 9, 2018 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Francisco Garcia-Tirado
       v. Commonwealth of Virginia
       Record No. 1982-15-4
       Memorandum opinion rendered by Senior Judge Annunziata on March 7, 2017
       Judgment of Court of Appeals affirmed by opinion rendered on August 9, 2018
       (170458)
